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1      TRACY L. WILKISON
       Acting United States Attorney
2      DAVID M. HARRIS
       Assistant United States Attorney
3      Chief, Civil Division
       JOANNE S. OSINOFF
4      Assistant United States Attorney
       Chief, General Civil Section, Civil Division
5      ALARICE M. MEDRANO (Cal. Bar No. 166730)
       Assistant United States Attorneys
6            Federal Building, Suite 7516
             300 North Los Angeles Street
7            Los Angeles, California 90012
             Telephone: (213) 894-0460
8            Facsimile: (213) 894-7819
             E-mail: Alarice.Medrano@usdoj.gov
9
       Attorneys for Defendant, Chad F. Wolf
10     Secretary, United States Department of Homeland Security
11
12                              UNITED STATES DISTRICT COURT
13                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
14                                       WESTERN DIVISION
15 NATHANIEL HAMPTON,                                   No. CV 19-10700 CBM (MAAx)
16                 Plaintiff,
                                                        [PROPOSED]
17                        v.                            STIPULATED PRIVACY ACT
                                                        PROTECTIVE ORDER
18 CHAD F. WOLF, ACTING
   SECRETARY, UNITED STATES
19 DEPARTMENT OF HOMELAND
   SECURITY,                                            [Discovery Document: Referred to
20                                                      Magistrate Judge Maria A. Audero]
             Defendant.
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22
23     1.    PURPOSES AND LIMITATIONS
24           Discovery in this action is likely to involve production of employee disciplinary
25     histories, and other personal information that is subject to the provision of the Privacy
26     Act of 1974, 5 U.S.C. § 552a. The Privacy Act of 1974 protects “any item, collection, or
27     grouping of information about an individual that is maintained by an agency.” 5 U.S.C.
28     § 552a(a)(4). Accordingly, in order to permit the parties to have access to and use such
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1      information for purposes of this litigation without undermining legitimate privacy
2      concerns, and pursuant to Rule 26 of the Federal Rules of Civil Procedure, the parties
3      hereby stipulate to and petition the Court to enter the following Stipulated Protective
4      Order. The parties acknowledge that this Stipulated Protective Order does not confer
5      blanket protections on all disclosures or responses to discovery and that the protection it
6      affords from public disclosure and use extends only to the limited information that is
7      entitled to confidential treatment under the applicable legal principles. The parties
8      further acknowledge, as set forth in Section 9.3 below, that this Stipulated Protective
9      Order does not entitle them to file confidential information under seal; Local Rule 79-5
10     sets forth the procedures that must be followed and the standards that will be applied
11     when a party seeks permission from the Court to file material under seal. Discovery in
12     this action is likely to involve production of employee disciplinary histories, and other
13     personal information that is subject to the provision of the Privacy Act of 1974, 5 U.S.C.
14     § 552a for which special protection from public disclosure and from use for any purpose
15     other than prosecuting this litigation is warranted.
16     2.    GOOD CAUSE STATEMENT
17           Good cause exists for the entry of this protective order, because unprotected
18     disclosure of non-party employee disciplinary histories and other personal information
19     would be an undue burden on Defendant and could result in unnecessary harm to these
20     employees, including embarrassment and invasion of their privacy. See Fed. R. Civ. P.
21     26(c)(1). Accordingly, to expedite the flow of information, to facilitate the prompt
22     resolution of disputes over confidentiality of discovery materials, to adequately protect
23     information the parties are entitled to keep confidential, to ensure that the parties are
24     permitted reasonable necessary uses of such material in preparation for and in the
25     conduct of trial, to address their handling at the end of the litigation, and to serve the
26     ends of justice, a protective order for such information is justified in this matter. It is the
27     intent of the parties that information will not be designated as confidential for tactical
28     reasons and that nothing be so designated without a good faith belief that it qualifies for
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1      protection under the terms of this Stipulated Protective Order.
2      3.    DEFINITIONS
3            3.1.   Action: This pending federal lawsuit.
4            3.2.   Defendant: The Party that designates information that it produces in
5                   disclosures or in responses to discovery as “Privacy Act” Information.
6            3.3.   Discovery Material: material encompassed in this Protective Order that
7                   includes, without limitation, deposition testimony, deposition exhibits,
8                   interrogatory responses, admissions, affidavits, declarations, documents
9                   produced pursuant to compulsory process or voluntarily in lieu of process,
10                  and any other documents or information produced or given to one party by
11                  another party or by a third party in connection with discovery in this matter.
12                  Information taken from Discovery Material that reveals its substance shall
13                  also be considered Discovery Material.
14           3.4.   Party: Any party to this Action.
15           3.5.   “Privacy Act” Information: Information (regardless of how it is generated,
16                  stored or maintained) that is either covered by the Privacy Act or that
17                  contains personal information regarding individuals other than Plaintiff.
18                  This applies to documents which are encompassed by the Federal Rules
19                  requiring disclosure or are reasonably necessary or useful to respond to the
20                  Plaintiff’s formal discovery, such as non-party employee disciplinary
21                  histories and other personal information.
22           3.6.   Protected Material: Any Discovery Material that is designated as “Privacy
23                  Act” Information.
24           3.7.   Plaintiff: The Party that receives Discovery Material from Defendant.
25     4.    SCOPE
26           Information taken from Discovery Material that reveals its substance shall also be
27     considered Discovery Material.
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1      5.     DURATION
2             Even after final disposition of this litigation, the confidentiality obligations
3      imposed by this Stipulated Protective Order shall remain in effect unless Defendant
4      agrees otherwise in writing or a court order otherwise directs. Final disposition shall be
5      deemed to be the later of (1) dismissal of all claims and defenses in this Action, with or
6      without prejudice; and (2) final judgment herein after the completion and exhaustion of
7      all appeals, rehearings, remands, trials, or reviews of this Action, including the time
8      limits for filing any motions or applications for extension of time pursuant to applicable
9      law.
10     6.     DESIGNATING PROTECTED MATERIAL
11            6.1.   Exercise of Restraint and Care in Designating Material for Protection.
12                   Defendant must take care to limit any designation of information as subject
13                   to this Stipulated Protective Order to specific material that qualifies under
14                   the appropriate standards.
15            6.2.   Manner and Timing of Designations.
16                   (a)   All documents subject to this Protective Order shall be marked as
17                   follows: “Confidential: Subject to Privacy Act Protective Order in
18                   Nathaniel Hampton v. Chad Wolf, CV 19-10700 CBM (MAAx).”
19                   (b)   Deposition testimony that may contain Protected Material should be
20                   so designated by verbal notice or written notice within 10 days of receipt of
21                   the transcript. However, testimony containing Protected Material that is not
22                   designated, through mistake, nonetheless must be safeguarded against
23                   unauthorized disclosure.
24            6.3.   Inadvertent Failure to Designate.
25                   If timely corrected, an inadvertent failure to designate qualified information
26                   or items does not, standing alone, waive the Defendant’s right to secure
27                   protection under this Stipulated Protective Order for such material. Upon
28                   timely correction of a designation, Plaintiff and Plaintiff’s counsel must
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1                   make reasonable efforts to assure that the material is treated in accordance
2                   with the provisions of this Stipulated Protective Order.
3      7.    CHALLENGING CONFIDENTIALITY DESIGNATIONS
4            7.1.   Timing of Challenges.
5                   Plaintiff may challenge a designation of confidentiality at any time that is
6                   consistent with the Court’s Scheduling Order.
7            7.2.   Meet and Confer.
8                   Plaintiff shall initiate the dispute resolution process, which shall comply
9                   with Local Rule 37.1 et seq., and with Section 4 of Judge Audero’s
10                  Procedures (“Mandatory Telephonic Conference for Discovery Disputes”).1
11           7.3.   Burden of Persuasion.
12                  The burden of persuasion in any such challenge proceeding shall be on the
13                  Defendant. Frivolous challenges, and those made for an improper purpose
14                  (e.g., to harass or impose unnecessary expenses and burdens on other
15                  parties) may expose the Plaintiff to sanctions. Unless the Defendant has
16                  waived or withdrawn the confidentiality designation, all parties shall
17                  continue to afford the material in question the level of protection to which it
18                  is entitled until the Court rules on the challenge.
19     8.    ACCESS TO AND USE OF PROTECTED MATERIALS
20           8.1.   Basic Principles.
21                  (a)   This Order applies to, governs, and directs the disclosure in the
22                  course of this action, under the Federal Rules of Civil Procedure, of all
23                  records which are either covered by the Privacy Act or otherwise contain
24                  personal information regarding individuals other than Plaintiff and which
25                  are encompassed by the Federal Rules requiring disclosure or are
26                  reasonably necessary or useful to respond to the Plaintiff’s formal
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28             Judge Audero’s Procedures are available at
       https://www.cacd.uscourts.gov/honorable-maria-audero.
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1                  discovery, such as non-party employee disciplinary histories and other
2                  personal information. This Order permits Defendant to meet its disclosure
3                  and discovery obligations by disclosing to Plaintiff or Plaintiff’s attorneys
4                  those files and documents, or information from those files and documents,
5                  reasonably calculated to fulfill those obligations without requiring
6                  Defendant to pre-screen each document for Privacy Act objections and
7                  present those objections to this Court for a decision regarding disclosure.
8                  (b)   Plaintiff may use Protected Material that is disclosed or produced by
9                  Defendant in connection with this Action only for prosecuting or attempting
10                 to settle this Action. Such Protected Material may be disclosed only to the
11                 categories of persons and under the conditions described in this Stipulated
12                 Protective Order. When the Action reaches a final disposition, Plaintiff and
13                 Plaintiff’s counsel must comply with the provisions of Section 11 below.
14                 (c)   Protected Material must be stored and maintained by Plaintiff and
15                 Plaintiff’s counsel at a location and in a secure manner that ensures that
16                 access is limited to the persons authorized under this Stipulated Protective
17                 Order.
18          8.2.   Disclosure of “Privacy Act” Information.
19                 (a)   The records or the information obtained from the records described in
20                 section 8.1 shall be disclosed by Defendant only to Plaintiff and/or his
21                 attorney. Plaintiff and/or his attorney shall be allowed to copy any such
22                 records but shall not disclose them or any information obtained from them
23                 to any person unless such disclosure is reasonably calculated in good faith
24                 to aid the preparation or prosecution of litigation against Defendant. The
25                 right of access to such records shall be limited to the Court and its
26                 employees, Plaintiff, counsel for the parties, and paralegal, secretarial, and
27                 clerical personnel in their employ. Plaintiff and/or his attorney shall ensure
28                 that any person to whom disclosure may be made shall, prior to such
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1                   disclosure, be informed of the terms of this Order. Any person to whom
2                   such disclosure is made and who is aware of this Order shall be bound by
3                   the terms of this Order. Court reporters retained by the parties for purposes
4                   of recording depositions and who have signed a TSA-approved Non-
5                   Disclosure Agreement may also have access to this information. Protected
6                   Material may not be further disseminated except as described herein,
7                   including to a jury, except with written permission from Defendant.
8                   (b)    No person to whom a record covered by this Order is disclosed shall
9                   make a copy of the record unless copying reasonably promotes the
10                  preparation for and trial of this litigation. Neither Plaintiff, his attorney, nor
11                  any individual to whom they make disclosure shall disclose a record
12                  covered under this Order and information contained in or derived from such
13                  a record except for the purposes of preparing for and prosecuting this
14                  litigation.
15     9.    UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
16           If Plaintiff or Plaintiff’s counsel learns that, by inadvertence or otherwise, it has
17     disclosed Protected Material to any person or in any circumstance not authorized under
18     this Stipulated Protective Order, Plaintiff or Plaintiff’s counsel immediately must
19     (1) notify in writing the Defendant of the unauthorized disclosure(s), and (2) use its best
20     efforts to retrieve all unauthorized copies of the Protected Material.
21     10.   MISCELLANEOUS
22           10.1. Right to Further Relief.
23                         Nothing in this Stipulated Protective Order abridges the right of any
24                  person to seek its modification by the Court in the future.
25           10.2. Right to Assert Other Objections.
26                         This Order neither addresses nor overrules any objections to
27                  discovery made pursuant to the Federal Rules of Civil Procedure on any
28                  basis other than personal privacy.
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1            10.3. Filing Protected Material.
2                          Documents that are marked as subject to this Protective Order or,
3                   though not marked, contain information protected by this Protective Order,
4                   shall be treated as confidential and shall not be published or made available
5                   to the general public in any form (whether in paper or electronic form), but
6                   instead shall be filed under seal. Material filed under seal will be available
7                   only to the persons enumerated in Section 8.2(a). A Party that seeks to file
8                   under seal any Protected Material must comply with Local Rule 79-5.
9                   Protected Material may only be filed under seal pursuant to a court order
10                  authorizing the sealing of the specific Protected Material at issue.
11           10.4 No Waiver.
12                         Nothing in this Order constitutes any decision by the Court
13                  concerning discovery disputes, the admission into evidence of any specific
14                  document, or liability for payment of any costs of production or
15                  reproduction, nor does the Order constitute a waiver by Defendant of his
16                  right to object to the discovery of or admission into evidence of any record
17                  or information subject to this Order. By consenting to this Order, neither
18                  party waives any of its positions respecting either the facts or the law
19                  applicable to this litigation.
20           10.5 Disclosure to Court Personnel.
21                         Nothing in this Protective Order shall preclude any disclosure of
22                  documents subject to this Order to any Judge, Magistrate, or employee of
23                  the Court for purposes of this action.
24     11.   FINAL DISPOSITION
25           All documents subject to this Protective Order in the possession of Plaintiff or
26     Plaintiff’s counsel shall be returned to TSA within 60 days of termination of this
27     litigation, including any appellate proceedings, or shall be certified in writing to TSA to
28     have been destroyed by Plaintiff or Plaintiff’s counsel.
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1      12.   VIOLATION
2            Any violation of this Stipulated Order may be punished by any and all appropriate
3      measures including, without limitation, contempt proceedings and/or monetary
4      sanctions.
5      IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
6
7            Dated: January 12, 2021        /s/ Edward J. Blum
8                                           EDWARD J. BLUM
                                            Attorney for Plaintiff,
9                                           Nathaniel Hampton
10
11           Dated: January 11, 2021        TRACY L. WILKISON
                                            Acting United States Attorney
12                                          DAVID M. HARRIS
                                            Assistant United States Attorney
13                                          Chief, Civil Division
                                            JOANNE S. OSINOFF
14                                          Assistant United States Attorney
                                            Chief, General Civil Section, Civil Division
15
                                            /s/ Alarice M. Medrano
16
                                            ALARICE M. MEDRANO
17                                          Assistant United States Attorney
18                                          Attorneys for Defendant, Chad Wolf, Acting
                                            Secretary, United States Department of
19                                          Homeland Security
20
21
22     FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
23
24     DATED: January ___,
                       12 2021
25
26                                                  MARIA
                                                    MARIIA A.
                                                           A. AUDERO
                                                              AUD
                                                                DERO
                                            UNITED STATES
                                                   ST
                                                    TATES MAGISTRATE JUDG
                                                                     JUDGE
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